Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 1 of 32 Page ID #:3897




 1   Martin J. Barab (State Bar No. 47419)
     A. Raymond Hamrick, III (State Bar No. 93821)
 2   Kenneth A. Kotarski (State Bar No. 100954)
     Rebecca L. Worden (State Bar No. 270464)
 3   HAMRICK & EVANS, LLP
     111 Universal Hollywood Drive, Suite 2200
 4   Universal City, California 91608
     Telephone No.: (818) 763-5292
 5   Fax No.: (818) 763-2308
 6   Attorneys for Plaintiffs
     GOODNESS FILMS, LLC, HERBERT HUDSON, PAUL
 7   GOLDSBY, and KENNEDY GOLDSBY
 8                            UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10
11   GOODNESS FILMS, LLC, a California                    Case No.: CV 12-08688-GW (JEMx)
     Limited Liability Company; HERBERT
12   HUDSON, an individual; PAUL                          PLAINTIFFS' MEMORANDUM OF
     GOLDSBY, an individual; and KENNEDY                  POINTS AND AUTHORITIES IN
13   GOLDSBY, an individual,                              OPPOSITION TO DEFENDANT ED.
                   Plaintiffs,                            WEINBERGER'S MOTION FOR
14                                                        SUMMARY JUDGMENT OR, IN
            v.                                            THE ALTERNATIVE, PARTIAL
15                                                        SUMMARY JUDGMENT
     TV ONE, LLC, a Ma land Limited,
16   Liability Company; GUEL A. NUNEZ,
     JR., an individual; and EDWIN B. "ED."               Complaint filed: October 10, 2012
17   WEINBERGER, an individual,
                                                          Date:      October 21, 2013
18                 Defendants.                            Time:      8:30 a.m.
                                                          Courtroom: 10
19
     AND RELATED THIRD-PARTY CLAIMS. Trial Date:                                December 17, 2013
20
21
22
            Plaintiffs GOODNESS FILMS, LLC, ("Goodness Films"), HERBERT
23   HUDSON ("Herb Hudson"), PAUL GOLDSBY, and KENNEDY GOLDSBY
24   (collectively, "Plaintiffs"), hereby submit the following Memorandum of Points and
25   Authorities in Opposition to Defendant EDWIN B. "ED." WEINBERGER's Motion for
26   Summary Judgment or, in the Alternative, Partial Summary Judgment (the "Motion").
27   Docket No. 181.

28
     PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED. WEINBERGER'S MOTION
                    FOR SUMMARY JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
          Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 2 of 32 Page ID #:3898




           2                                         TABLE OF CONTENTS
           3                                                                                                             Page


           5   I. SUMMARY OF ARGUMENT                                                                                            1
           6 II. ARGUMENT                                                                                                        1
           7          A. The Standards Governing Summary Judgment Motions                                                        1
           8          B.       Genuine Issues of Material Fact Exist as to Whether
           9                   There is Substantial Similarity Between the Belle's
          10                   Show and the Roscoe's Show                                                                        2
          11          C.       Independent Creation is not Properly Decided on
          12                   Summary Judgment                                                                                  2
          13          D.      Genuine Issues of Material Fact Exist as to Whether
          14                  Nuilez Acted as Plaintiffs' Agent                                                                  4
          15                  1.       An Agency Agreement May be Implied                                                        4
MRICK &




          16                  2.       Factors Determining Agency                                                                5
          17                  3.       Genuine Issues of Material Fact Also Exist as to
          18                           Whether the Roscoe's Show was Pitched to TV One
          19                           Other Than as the Infringing Belle's Show by Niiiiez
          20                           and Weinberger                                                                            7
          21                  4.       Whether TV One Would have Purchased the Roscoe's
          22                           Show Cannot be Resolved on Summary Judgment                                           9
          23          E.      Genuine Issues of Material Fact Exist as to Whether
          24                  Weinberger Aided and Abetted Nufiez's Breach of
          25                  Fiduciary Duty                                                                                10
          26                  1.       Weinberger had Knowledge of Naez's Fiduciary Duty                                    11
          27
          28
               PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED. WEINBERGER'S MOTION FOR SUMMARY
                                         JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 3 of 32 Page ID #:3899




 1
 2                                         TABLE OF CONTENTS
 3                                                                                                             Page
 4
 5                   2.      The Specific Allegations of the Complaint Sufficiently
 6                           Plead Claims for Breach of Fiduciary Duty and
 7                           Aiding and Abetting                                                                  12
 8          F.       Genuine Issues of Material Fact Exist as to Weinberger's
 9                   Liability for Breach of Implied Contract                                                     13
10                   1.      Weinberger and Nutiez Impliedly Agreed to Compensate
11                           Plaintiffs if They Exploited the Roscoe's Show                                       14
12                   2.      Industry Customs and Practice in the Submission of Ideas                             15
13                   3.      NUtiez and Weinberger Admit Access, Undermining
14                           a Claim of Independent Creation                                                      15
15          G.       Genuine Issues of Material Fact Exist as to Whether
16                   Weinberger and NUtiez Interfered with Plaintiffs' Prospective
17                   Economic Advantage                                                                           16
18                   1.      Plaintiffs' Existing and Potential Economic Relationships                            17
19                  2.       Weinberger's Knowledge of Plaintiffs' Economic
20                           Relationships                                                                        19
21                  3.       Weinberger's Interference                                                            20
22                  4.       Plaintiffs Need Not Prove Independently Wrongful Conduct                             21
23          H.      Plaintiffs are Permitted to Recover Both Statutory Damages
24                  and Attorneys' Fees on Their Copyright Claim against Weinberger                               23
25   III. CONSIDERATION OF DEFENDANTS' MOTIONS SHOULD BE
26          DEFERRED                                                                                              24
27 IV. CONCLUSION                                                                                                 25
28
                                                            ii
     PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED. WEINBERGER'S MOTION FOR SUMMARY
                               JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 4 of 32 Page ID #:3900




 1
 2                                       TABLE OF AUTHORITIES
 3                                                                                                             Page
 4
 5 Cases
 6   A&M Records, Inc. v. Napster, Inc.,
      239 F.3d 1004 (9th Cir. 2001)                                                                               24
 7
     Anderson v. Liberty Lobby, Inc.,
 8     477 U.S. 242 (1986)                                                                                        10
 9   Apodaca v. Trinity Lumber Co.,
       226 Cal.App.2d 1 (1964)                                                                                    16
10
     Binder v. Aetna Life Ins. Co.,
11     75 Cal.App.4th 832 (1999)                                                                                  15
12   Blaustein v. Burton,
       9 Cal.App.3d 161 (1970)                                                                                    15
13
     Borders Online, LLC v. State Bd. of Equalization,
14     129 Ca1.App.4th 1179 (2005)                                                                              4, 6
15   Bowoto v. Chevron Texaco Corp.,
       312 F.Supp.2d 1229 (N.D. Cal. 2004)                                                                        13
16
     British Airways Board v. Boeing Company,
17     585 F.2d 936 (9th Cir. 1978)                                                                            1, 12
18   Brookhaven Landscape & Grading Co., Inc. v. J.F. Barton Contracting Co.,
       676 F.2d 516 (11th Cir. 1982)                                                                              20
19
     Calderone v. United States,
20     799 F.2d 254 (6th Cir. 1986)                                                                                1
21   Clonus Assocs. v. Dream Works, LLC,
       457 F.Supp.2d 432 (S.D.N.Y. 2006)                                                                           3
22
     Colome v. State Athletic Comm'n,
23    47 Cal.App.4th 1444 (1996)                                                                                  21
24   Cornwell v. Electra Central Credit Union,
       439 F.3d 1018 (9th Cir. 2006)                                                                     7, 19, 23
25
     Derek Andrew, Inc. v. ProofApparel Corp.,
26    528 F.3d 696 (9th Cir. 2008)                                                                               23
27   Desert Palace, Inc. v. Costa,
       539 U.S. 90, 123 S.Ct. 2148 (2003)                                                                7, 19, 23
28
                                                            iii
     PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED. WEINBERGER'S MOTION FOR SUMMARY
                               JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
      Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 5 of 32 Page ID #:3901




       1
       2                                       TABLE OF AUTHORITIES
       3                                                                                                             Page


       5   Fontenot v. Upjohn Co.,
             780 F.2d 1190 (5th Cir. 1986)                                                                               2
       6
           Grosso v. Miramax Film Corp.,
       7     383 F.3d 965 (9th Cir. 2004)                                                                     13, 14, 15
       8   Gund, Inc. v. Russ Berrie & Co.,
            701 F.Supp. 1013 (S.D.N.Y. 1988)                                                                             3
       9
           Henry v. Daytop Village, Inc.,
      10    42 F.3d 89 (2nd Cir. 1994)                                                                                  20
      11   Independent Enterprises, Inc. v. Pittsburgh Water & Sewer Authority,
             103 F.3d 1165 (3rd Cir. 1997)                                                                              20
      12
           ING Bank, FSB v. Chan Seob Ahn,
•     13     758 F.Supp.2d 936 (N.D. Cal. 2010)                                                                          4
•     14   Kamar Intl, Inc. v. Russ Berrie & Co.,
            657 F.2d 1059 (9th Cir. 1981)                                                                                3
      15
ort        Korea Supply Co. v. Lockheed Martin Corp.,
•     16     29 Cal4th 1134 (2003)                                                                                      17
      17   Kwan v. Schlein,
            246 F.R.D. 447 (S.D.N.Y. 2007)                                                                              23
•     18
           Mann v. Columbia Pictures, Inc.,
      19    128 Ca1.App.3d 628 (1982)                                                                              15, 16
      20   Nationwide Life Ins. Co. v. Bankers Leasing Ass 'n, Inc.,
             182 F.3d 157 (2nd Cir. 1999)                                                                                2
      21
           Neilson v. Union Bank of California, N.A.,
      22     290 F.Supp.2d 1101 (C.D. Cal. 2003)                                                                        12
      23   Overhill Farms, Inc. v. Lopez,
            190 Cal.App.4th 1248 (2010)                                                                                 22
      24
           Overman v. Loesser,
      25    205 F.2d 521 (9th Cir. 1953)                                                                                 3
      26   Pacific Gas & Electric Co. v. Bear Stearns & Co.,
             50 Ca1.3d 1118 (1990)                                                                                      17
      27
           Ramona Manor Convalescent Hosp. v. Care Enters.,
      28     177 Cal.App.3d 1120 (1986)                                                                                20
                                                 iv
           PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED. WEINBERGER'S MOTION FOR SUMMARY
                                      JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
              Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 6 of 32 Page ID #:3902




               1
               2                                      TABLE OF AUTHORITIES
               3                                                                                                             Page


               5         v.fficeibber,
                   Rem.          882 (2d Cir. 1997)                                                                              3
               6
                   Rokos v. Peck,
               7     182 Ca1.App.3d 604 (1986)                                                                                  13
               8   Roth v. Rhodes,
                     25 Cal.App.4th 530 (1994)                                                                                  17
               9
                   San Francisco Design Center Associates v. Portman Companies,
              10     41 Ca1.App.4th 29 (1995)                                                                                   21
              11   Savage v. Pacific Gas & Elec. Co.,
                     21 Cal.App.4th 434 (1993)                                                                                  20
              12
                   Show Management v. Hearst Pub. Co.,
              13     196 Cal.App.2d 606 (1961)                                                                                  21
              14   Sobhani v.    adical. Media Inc.,
                     257 F. Supp. 2d 1234 (C.D. Cal. 2003)                                                                       3
              15
                   Southern Calif Gas Co. v. City of Santa Ana,
H AMR ICK &




              16     336 F.3d 885 (9th Cir. 2003)                                                                                2
              17   Van't Rood v. County of Santa Clara,
                    113 Cal.App.4th 549 (2003)                                                                                4, 6
              18
                   Wickham v. Southland Corp.,
              19    168 Cal.App.3d 49 (1985)                                                                                    10
              20   Must v. Longo,
                    43 Ca1.3d 64 (1987)                                                                                         21
              21
                   Statutes
              22
                   17 USC § 106                                                                                                 24
              23
                   17 USC § 106(1)                                                                                              24
              24
                   17 USC § 106(3)                                                                                             24
              25
                   17 USC § 106(5)                                                                                             24
              26
                   17 USC § 412                                                                                           23, 24
              27
                   17 USC § 504                                                                                                23
              28
                                                                          V
                   PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED. WEINBERGER'S MOTION FOR SUMMARY
                                              JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 7 of 32 Page ID #:3903




 1
 2                                      TABLE OF AUTHORITIES
 3                                                                                                             Page
 4
 5   17 USC § 505                                                                                                 23
 6   Federal Rules of Civil Procedure, Rule 56(c)                                                             2, 16
 7   Other Authorities
 8   3 Witkin, Summary of Cal. Law:
       Agency & Employment (10th ed. 2005) § 92, p. 139                                                            4
 9
     3 Witkin, Summary of Cal. Law:
10     Agency & Employment, § 93, p. 140                                                                           4
11   Cal. Prac. Guide Civ. Pro. Trial Claims and Def.
       Ch. 3(II)-B §3:174                                                                                         19
12
     Federal Rules: Defining Genuine Issues of Material Fact,
13     99 FRD 465, 487-488 (1984)                                                                                  2
14   Nimmer on Copyright
       (2010) §12.10[B][2][b]                                                                                      3
15
     Nimmer on Copyright
16     § 12.11[D]                                                                                                  3
17   Nimmer on Copyright
       § I6.05[B], at 1.6=35                                                                                      15
18
     Restatement (Second) of Torts, § 876                                                                         12
19
20
21
22
23
24
25
26
27
28
                                                            vi
     PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED. WEINBERGER'S MOTION FOR SUMMARY
                                JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 8 of 32 Page ID #:3904




 1                      MEMORANDUM OF POINTS AND AUTHORITIES
 2 I. SUMMARY OF ARGUMENT
 3          An abundance of disputed material facts exist in this matter, each of which
 4 undermines and refutes Weinberger's purported entitlement to Summary Judgment.
 5   Taken together, these facts clearly compel denial of the subject Motion. Indeed,
 6   genuine issues of material fact exist as to the following:
 7          1.       Whether there is substantial similarity between the Belle's Show and the
 8   Roscoe's Show;
 9          2.       Whether the Belle's Show was created independently of the Roscoe's
10 Show;
11          3.      Whether Nutiez acted as Plaintiffs' agent;
12          4.      Whether Weinberger aided and abetted Niiiiez's Breach of Fiduciary Duty;
13          5.      Weinberger's liability for Breach of Implied Contract
14          6.      Whether Weinberger and Nuilez interfered with Plaintiffs' Prospective
15   Economic Advantage; and
16          7.      Whether Plaintiffs are permitted to recover both statutory damages and
17   attorneys' fees on their Copyright Claim against Weinberger.
18 II. ARGUMENT
19          A. The Standards Governing Summary Judgment Motions
20          The burden of establishing that there is no genuine issue of material fact lies
21   initially with the moving party, and resolution of all doubts should be made in favor of
22   the party opposing the motion. British Airways Board v. Boeing Company, 585 F.2d
23   936, 951 (9th Cir. 1978). The moving party must shoulder the initial burden of proof as
24   to each material fact upon which it has the burden of persuasion at trial.
25         "Where the moving party has the burden — the plaintiff on a claim for relief or the
26   defendant on an affirmative defense — his showing must be sufficient for the court to
27   hold that no reasonable trier of fact could find other than for the moving party."
28   Calderone v. United States, 799 F.2d 254, 259 (6th Cir. 1986) (emphasis in original),
     PLAINTIFFS` MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED. WEINBERGER'S MOTION FOR SUMMARY
                               JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 9 of 32 Page ID #:3905




 1   quoting from Summary Judgment under the Federal Rules: Defining Genuine Issues of
 2   Material Fact, 99 FRD 465, 487-488 (1984); Southern Calif. Gas Co. v. City of Santa
 3   Ana, 336 F.3d 885, 888 (9th Cir. 2003) [citing text].
 4          The moving party also must meet the ultimate burden in persuading the Court
 5   that there is "no genuine issue as to any material fact and that the movant is entitled to
 6   judgment as a matter of law." FED. R. Civ. P. 56(c). "If the movant bears the burden of
 7   proof on an issue, either because he is the plaintiff or as a defendant he is asserting an
 8   affirmative defense, he must establish beyond peradventure all of the essential elements
 9   of the claim or defense to warrant judgment in his favor." Fontenot v. Upjohn Co., 780
10   F.2d 1190, 1194 (5th Cir. 1986) (emphasis in original). "Because summary judgment is
11   a 'drastic device,' cutting off a party's right to present its case to a jury, the moving
12   party bears a 'heavy burden' of demonstrating the absence of any triable issues of
13   material fact." Nationwide Life Ins. Co. v. Bankers Leasing Ass'n, Inc., 182 F.3d 157,
14   160 (2nd Cir. 1999).
15          B.       Genuine Issues of Material Fact Exist as to Whether There is
16                   Substantial Similarity Between the Belle's Show and the Roscoe's
17                   Show
18          In order to avoid a substantial repetition of the same arguments, Plaintiffs
19   incorporate by reference their Memorandum of Points and Authorities in Support of
20   Plaintiffs' Opposition to Defendant TV One, LLC's Motion for Summary Judgment as
21   it relates to the substantial similarity arguments made by Weinberger as if set forth at
22   length herein.
23          C.      Independent Creation is not Properly Decided on Summary Judgment
24          Weinberger argues that the Court should essentially disregard the substantial
25   similarity between the two works at issue because he "independently created" the
26   infringing Belle's Show (after being provided with the Roscoe's Show Materials, no
27   less). Such argument is improper at the summary judgment phase and, in any event,
28   devoid of merit.
                                                            2
     PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED. WEINBERGER'S MOTION FOR SUMMARY
                                JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 10 of 32 Page ID #:3906




 1           The question of independent creation arises only after a copyright Plaintiff has
 2   made a showing of substantial similarity between two works; at that point, the burden
 3   shifts to the Defendant to prove that his work was independently created. Kamar
 4   Inc. v. Russ Berrie & Co., 657 F.2d 1059, 1062 (9th Cir. 1981). However, the question
 5   of whether similarity between two works "was the result of actual copying from
 6   Plaintiff or created independently of Plaintiff's work" is not proper for consideration on
 7   a Motion for Summary Judgment. Instead, the strength of a Defendant's "independent
 8   creation" defense is properly reserved as "a question for the fact finder." Repp v.
 9   Webber, 132 F.3d 882, 889 (2d Cir. 1997); See also Sobhani v. @Radical.Media Inc.,
10   257 F. Supp. 2d 1234, 1237 (C.D. Cal. 2003) (denying defendants' request for summary
11   judgment based on independent creation, where defendants' work was produced after
12   plaintiffs and plaintiff presented evidence of access and substantial similarity); 3 M.
13   Nimmer & D. Nimmer, Nimmer on Copyright (2010) §12.10[B][2][b] ("No matter how
14 credible such a claim [for independent creation] is, and even absent any contrary
15   evidence, a court should not grant summary judgment on that basis....To the extent that
16   defendant denies that copying and maintains independent creation, a factual issue arises,
17   which it is for trial to resolve.").
18           Moreover, the nature of independent creation strongly favors jury adjudication of
19   this issue. California Courts have held that a Defendant must offer evidence of greater
20   weight than merely the verbal testimony of interested witnesses in order to prove
21   independent creation. Overman v. Loesser, 205 F.2d 521 (9th Cir. 1953). Moreover,
22 where, as here, the Defendant's own uncorroborated testimony provides the sole
23   evidence of independent creation, Defendant should be compelled to "testify as to his
24   sources and subject himself to cross-examination." 4 Nimmer on Copyright § 12.11[D];
25   See also, Clonus Assocs. v. Dream Works, LLC, 457 F.Supp.2d 432, 440 n.39 (S.D.N.Y.
26   2006); Gund, Inc. v. Russ Berrie & Co., 701 F.Supp. 1013, 1023 (S.D.N.Y. 1988).
27           //
28           //
                                                             3
      PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED. WEINBERGER'S MOTION FOR SUMMARY
                                JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 11 of 32 Page ID #:3907




 1           D.      Genuine Issues of Material Fact Exist as to Whether Nunez Acted as
 2                   Plaintiffs' Agent
 3           Summary Judgment must also be denied as to Plaintiffs' Claim for Relief for
 4   Breach of Fiduciary Duty because (1) Niiiiez admitted that he acted as agent for
 5   Plaintiffs, and (2) breached his fiduciary duties in connection with this agency by
 6   failing to submit the Roscoe's Show script to TV One, as promised, on Plaintiffs' behalf.
 7   Moreover, with respect to Weinberger's liability on Plaintiffs' Claim or Relief for aiding
 8   and abetting, based on the totality of the circumstances, Weinberger unquestionably
 9   knew of this agency and conspired with Nuriez to breach the same, causing Plaintiffs to
10   suffer substantial harm as a result of these deliberately wrongful acts.
11                   1.       An Agency Agreement May be Implied
12           Notably, an agency agreement "may also be implied from the circumstances and
13   conduct of the parties." 3 Witkin, Summary of Cal. Law: Agency & Employment (10th
14   ed. 2005) § 92, p. 139; See also Borders Online, LLC v. State Bd. of Equalization, 129
15   Cal.App.4th 1179, 1189 (2005) ("An agency relationship 'may be implied based on
16 conduct and circumstances.") (citation omitted). "The existence of agency or
17   employment is mainly a question of fact." 3 Witkin, Summary of Cal. Law: Agency &
18   Employment, § 93, p. 140; See also ING Bank, FSB v. Chang Seob Ahn, 758 F.Supp.2d
19   936, 941 (N.D. Cal. 2010) ("Agency is typically a question of fact[.]"); Van't Rood v.
20   County of Santa Clara, 113 Cal.App.4th 549, 562 (2003) (same); Borders Online,
21   supra, 129 Cal.App.4th at 1189 ("It is true that [t]he existence of an agency relationship
22   is usually a question of fact, unless the evidence is susceptible of but a single
23   inference.') (citation omitted) (emphasis in original).
24           Here, Plaintiffs contend an implied agency agreement was formed, based on the
25   circumstances and conduct of the parties, when Nnliez unequivocally advised Paul
26 Goldsby, in writing, that he will submit the Roscoe's Show script to TV One on
27   Plaintiffs' behalf On August 24, 2010, pursuant to the fiduciary relationship between
28   Plaintiffs and Nnfiez, Paul Goldsby directed an e-mail to Nuriez, entitled "[R]oscoe's
                                                             4
      PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED. WEINBERGER'S MOTION FOR SUMMARY
                                 JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 12 of 32 Page ID #:3908




 1   [S]cript," instructing him to "Make it happen at [TV] [O]ne before bendy [sic] [Kyle
 2   Evans] [g]ets a chance." Deposition of Miguel A. Naez, Jr. ("Nunez Depo."), at Exh.
 3   "D" to Declaration of A. Raymond Hamrick, III in Support of Plaintiffs' Oppositions to
 4   Defendants' Motions for Summary Judgment ("Hamrick Decl."), 158:7-159:2. A copy
 5   of the Roscoe's Show script was attached to Paul Goldsby's e-mail to Naez. Nufiez
 6   Depo. 158:15-21. In response, Nufiez e-mailed Paul Goldsby, "Will do." Nufiez Depo.
 7 162:13-16.
 8           Accordingly, Nuilez was specifically requested to act as Plaintiffs' agent in
 9   submitting the Roscoe's Show script to TV One, and consented, unequivocally, to do so.
10   Nilliez Depo. 158:7-159:2; 162:13-16. Despite Nuilez's unambiguous declaration to
11   Paul Goldsby that he will submit the Roscoe's Show script to TV One, he knowingly
12   and willfully failed to do so. Significantly, it appears that Nitilez intended to deceive
13   Plaintiffs when he agreed to submit the script to TV One and then refused to do so.
14   Indeed, Nuriez admits that he did not tell any of the Plaintiffs that he would not submit
15   the Roscoe's Show script to TV One "[b]ecause [he] wanted [Plaintiffs]to think that [he]
16   was still ... helping them with it. Naez Depo. 159:16-160:16. Moreover, Nunez
17   brazenly admitted at his deposition that he was not honest with Plaintiffs in telling them
18   that he failed to submit the Roscoe's Show script to TV One. Nufiez Depo. 160:21-
19   161:6. Based upon the above agency role, Nuriez clearly breached his fiduciary duties
20   as agent by exploiting his position of trust and confidence to misappropriate the
21 Roscoe's Show Materials, including the Roscoe's Show script, and "create" the
22   infringing Belle's Show, and exploit Plaintiffs' intellectual property for his own benefit.
23                   2.       Factors Determining Agency
24           Weinberger correctly notes that "there is no bright-line" test to determine agency
25   and that California Courts have considered the following four factors in deciding whether
26 an agency relationship exists: (1) whether the agent has power to alter the legal
27   relationships of the principal; (2) whether the agent acts as the fiduciary of the principal;
28   (3) whether the principal can control the agent; and (4) whether the agent consents to act as
                                                             5
      PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED. WEINBERGER'S MOTION FOR SUMMARY
                                JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
              Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 13 of 32 Page ID #:3909




               1   the principal's agent. See Borders Online, LLC v. State Bd. of Equalization, 129 Cal. App.
               2 4th 1179, 1190-91 (2005). Notably, the analysis as to whether an agency relationship
               3   exists is context-specific, and trial courts are not required to apply each factor. Id.; See also
               4   Van't Rood v. County of Santa Clara, 113 Cal.App.4th 549, 571 (2003).
               5            Here, three of the four factors noted in Borders Online clearly establish that NAriez
               6   was Plaintiffs' agent.' First, by advising Paul Goldsby in no uncertain terms that he will
               7   submit the Roscoe's Show script to TV One, Niffiez unquestionably consented to act as
               8   Plaintiffs' agent, thereby satisfying the fourth factor. With respect to the second factor,
               9   whether the agent acts as the fiduciary of the principal, Nufiez was unequivocal in his
              10   testimony that not only did he agree to submit the Roscoe's Show script to TV One, but
              11   that he continued to act as if he would, going so far as omitting to tell any of the
              12   Plaintiffs that he would not submit the Roscoe's Show script to TV One for the reason
              13   that he wanted Plaintiffs to believe that he was their agent and still helping them with
              14   the submission process. Nufiez Depo. 159:16-160:16.
              15           Third, that Plaintiffs could, and did, exercise control over Niiriez as their agent is
H AMRI CK &




              16   without dispute. As an initial matter, Paul Goldsby directed Nidiez as to the specific
              17   task to be accomplished, i.e., submit the Roscoe's Show script to TV One, and Niulez
              18   assented. Niffiez Depo. 158:7-159:2; 162:13-16. The direction given Niffiez was time-
              19   specific ... submit the Roscoe's Show script to TV One immediately ("make it happen")
              20   and before someone else has the chance to do so. Nufiez Depo. 158:7-159:2. These
              21   time-sensitive directives were acknowledged by Nufiez who testified he understood that
              22   Bentley Kyle Evans, a director and producer, intended to submit the same script to TV
              23
              24   1 "Authority to bind" is not required for the existence of an agency relationship. In fact, the cases are
                   clear that authority to bind is not required, only authority to act on behalf of and for the benefit of the
              25   principal in initiating or altering legal relationships between the principal and third parties. E.g. City of
                   Los Angeles v. Sherwood, 85 Cal.App.3d 347, 351 (1978) ("The chief characteristic of the agency is
              26
                   that of representation, the authority to act for and in the place of the principal for the purpose of
              27   bringing him or her into legal relations with third parties." (emphasis added)); Garlock Sealing
                   Technologies, LLC v. NAK Sealing Technologies Corp., 148 Cal.App.4th 937, 964 (2007) (an agent
              28   "holds a power to alter the legal relations between the principal and third persons" (emphasis added).
                                                                           6
                    PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED. WEINBERGER'S MOTION FOR SUMMARY
                                              JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
          Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 14 of 32 Page ID #:3910




           1 One. Nuriez Depo. 158:25-159:1. Not only was Nidiez told what to do, but the
           2   immediacy of his task was abundantly clear. Nufiez Depo. 158:7-159:2.
           3           Weinberger's contention that Nfdiez was not a fiduciary because Plaintiffs did
           4   not trust him is blatantly disingenuous. At best, this assertion is inaccurate; at worst it
           5   is intentionally deceptive. Paul Goldsby testified that he held Nidiez in an inner circle
           6   of confidence, and trusted Nurlez until he betrayed that trust. Deposition of Paul
           7   Goldsby ("P. Goldsby Depo."), at Exh. "I" to Hamrick Decl., 139:12-24; 140:8-140:14;
           8   140:24-141:2. Mr. Hudson, an extremely careful businessman who subscribes to a trust
           9   no one, keep your friends close and your enemies closer, style of business, trusted
          10 Nidiez because his production company and Paul Goldsby trusted Naez, and Mr.
          11   Hudson trusted Paul Goldsby and his production company. Deposition of Herbert
          12   Hudson ("Hudson Depo."), at Exh. "J" to Hamrick Decl., 146:10-14; 150:22-151:1.
          13 Indeed, Mr. Hudson had no reason to distrust Nufiez. Hudson Depo. 146:15-17.
          14   Moreover, whether or not any of the Plaintiffs trust Naez at this time is wholly
          15   irrelevant to the events which previously transpired. Hudson Depo. 146:8-9.
MRICK &




          16                   3.       Genuine Issues of Material Fact Also Exist as to Whether the
          17                            Roscoe's Show was Pitched to TV One Other Than as the
          18                            Infringing Belle's Show by Nunez and Weinberger
          19           Weinberger alleges that both Norbert Pickett and Herbert Hudson unsuccessfully
          20 pitched the Roscoe's Show to TV One. Weinberger Motion, pp. 15:25-16:4.
          21   Unfortunately for Weinberger, the totality of the circumstances, including the actual
          22 witness testimony, documents and circumstantial evidence is enough to defeat
          23   Weinberger's self-serving assertion. Cornwell v. Electra Central Credit Union, 439
          24   F.3d 1018, 1029-1030 (9th Cir. 2006); See also Desert Palace, Inc. v. Costa, 539 U.S.
          25   90, 100, 123 S.Ct. 2148, 2154 (2003) (in civil litigation generally, circumstantial
          26   evidence "may be more certain, satisfying and persuasive than direct evidence.").
          27           Significantly, TV One's Toni Judkins testified that in or around September 2011,
          28   Norbert Pickett pitched only a "talk show" and a "profile show." Deposition of Toni
                                                                       7
                PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED. WEINBERGER'S MOTION FOR SUMMARY
                                          JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 15 of 32 Page ID #:3911




 1 Judkins ("Judkins Depo."), at Exh. "F" to Hamrick Decl., 54:19-57-8. Mr. Pickett did
 2   not pitch the Roscoe's Show to TV One. Judkins Depo.57:9-11; TV One e-mail
 3   correspondence of various dates regarding discussions with Norbert Pickett, Exh. "P" to
 4   Hamrick Decl., TVO 000628-660.
 5           Nor did Mr. Hudson pitch the Roscoe's Show to TV One. In this regard,
 6   Weinberger relies on certain hearsay testimony of Frank Pinnock (Weinberger OF 92)
 7   regarding meetings between Mr. Hudson and Cathy Hughes of TV One. In point of
 8   fact, Mr. Pinnock did not know why Ms. Hughes was at Hi Point Studios where these
 9   meetings allegedly took place. Deposition of Frank Pinnock ("Pinnock Depo."), at Exh.
10   "K" to Hamrick Decl., 151:21-152:1. Mr. Pinnock never attended a formal meeting
11 between Ms. Hughes and Mr. Hudson where the Roscoe's Show was discussed.
12   Pinnock Depo. 150:12-18. Weinberger's efforts to characterize the encounter in the Hi
13   Point Studios' parking lot between Ms. Hughes and Messrs. Hudson and Pinnock as a
14   pitch meeting, defies logic and is not supported by the facts. What is characterized by
15   Weinberger as a pitch meeting was a chance encounter with Ms. Hughes that occurred
16   when Messrs. Hudson and Pinnock returned to Hi Point Studios from a vendor meeting.
17   Pinnock Depo. 150:19-151:9.
18           Mr. Pinnock describes the encounter with Ms. Hughes, not as a meeting, but as a
19   meet and greet, "chitchat," during the course of which the Roscoe's Show and Beyond
20   the Lens (a show that Mr. Pinnock completed with the intention of it going to TV One)
21   came up. Pinnock Depo. 150:19-151:9; 154:22-156:13. Indeed, Mr. Hudson was very
22   vague about the Roscoe's Show during this general discussion with Ms. Hughes. Id.
23   Notably, Mr. Pinnock has no further information as to whether Mr. Hudson and Ms.
24   Hughes ever again discussed the Roscoe's Show. Pinnock Depo. 156:20-157:3. The
25   bottom-line is that there is no compelling evidence of a pitch of the Roscoe's Show.
26   Ms. Hughes simply expressed interest in the ideas, and there was no explicit rejection of
27   the Roscoe's Show. Indeed, Ms. Hughes may very well have been interested in the
28
                                                             8
      PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED. WEINBERGER'S MOTION FOR SUMMARY
                                 JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 16 of 32 Page ID #:3912




 1 Roscoe's Show for TV One, but never got back to Plaintiffs, most likely because she
 2   was on her way out, as of August 2011, as the head of TV One. Judkins Depo. 31:2-20.
 3                   4.       Whether TV One Would have Purchased the Roscoe's Show
 4                            Cannot be Resolved on Summary Judgment
 5           The issue of whether or not TV One would have purchased the Roscoe's Show is
 6   also rife with genuine issues of material fact and is not suitable for resolution on
 7   Summary Judgment. As an initial matter, TV One purchased the Belle's Show, which is
 8   in significant respects substantially similar to the Roscoe's Show. In an event, scripted
 9   television shows often evolve during the course of production, and perceived issues
10 with respect to the script for the Roscoe's Show and the focus of TV One's
11   programming easily would have been resolved during development and production.
12   Declaration of Mark Litwak, ¶ 16. Notably, this occurred with the Belle's Show where
13   entirely new scenes were inserted into the scripts for each episode to correct what TV
14   One perceived as a difference of opinion with Weinberger as to the pacing of the scripts
15   and some of the subject matters that were presented in the scripts. Judkins Depo. 98:16-
16   24; 104:14-18. In short, Ms. Judkins wanted the pacing to be more upbeat and the
17   scripts to be funnier. Judkins Depo. 99:8-10.
18          Moreover, the pitch materials for the four projects that Nuriez and Weinberger
19 initially pitched to TV One included such non-family oriented topics as a wife-
20   swapping foursome, along with a character described as a gold digger, a connotation
21   that TV One believed to be inconsistent with its audience. "Four Projects" pitch
22   materials, at Exh. Q to Azat Decl., ED000113 ("OTHER CHARACTERS:. HATTIE
23   (40s), the "seen-it-all" cynical cashier; MAURICE (30s), the high-strung chef;
24 and various CUSTOMERS, from the                                   wife-swapping foursome                  to the
25   neighborhood philosopher." and "Elese is the stylish, self-absorbed prima donna
26   with ambitions that alter between a career in the music business and finding a rich
27   husband."). (Emphasis supplied.) Nevertheless, the Belle's Show was purchased by TV
28 One.
                                                             9
      PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED, WEINBERGER'S MOTION FOR SUMMARY
                                JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 17 of 32 Page ID #:3913




 1          Lastly, given that TV One was seeking to deliver real life and entertainment
 2 programming from the African American point of view, and Roscoe's House of
 3   Chicken and Waffles, the focus of the Roscoe's Show, is an iconic Southern California-
 4   based soul food restaurant, which has gained worldwide fame and acclaim for both its
 5   food and its atmosphere, the potential for the exploitation of a synergy between the
 6   Roscoe's Show and TV One easily would have developed. See, generally, Declaration
 7   of Mark Litwak, ¶ 15.
 8           In ruling on a Motion for Summary Judgment, the Court is guided by the
 9   principle that "[c]redibility determinations, the weighing of the evidence, and the
10   drawing of legitimate inferences from the facts are jury functions, not those of a
11   judge...." Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986). Further, the
12   determination of whether an agent has breached his fiduciary duty is generally a
13   question of fact for the jury. See Wickham v. Southland Corp., 168 Cal.App.3d 49, 55
14   (1985) ("[I]t is an elementary rule that the existence of agency is a factual question
15   within the province of the trier of fact whose determination may not be disturbed on
16   appeal if supported by substantial evidence . . . . Only when the essential facts are not in
17   conflict will an agency determination be made as a matter of law.") (citations omitted).
18           E.      Genuine Issues of Material Fact Exist as to Whether Weinberger
19                   Aided and Abetted Ntiliez's Breach of Fiduciary Duty
20           Weinberger also seeks Summary Judgment on the ground that Plaintiffs cannot
21   establish an underlying fiduciary duty owed by Nufiez, an assertion that is thoroughly
22   refuted in the immediately preceding section of this Opposition (II.D.) in which
23   Plaintiffs unequivocally show that genuine issues of material fact exist as to whether
24   Nuilez owed to Plaintiffs, and breached, fiduciary obligations to make full disclosure to
25   Plaintiffs of all material matters, to deal fairly, justly, and honestly with Plaintiffs, to be
26   loyal to the interests of Plaintiffs, and to place Plaintiffs' interests before his own
27   interests with respect to approaching Niatiez's connections at TV One, presenting the
28
                                                             10
      PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED. WEINBERGER'S MOTION FOR SUMMARY
                                 JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 18 of 32 Page ID #:3914




 1   project to TV One, and determining TV One's interest in assisting in the last stages of
 2   production of the Roscoe's Show and ultimately airing the series.
 3                            1.       Weinberger had Knowledge of Niiez's Fiduciary Duty
 4           In addition, Weinberger maintains that Plaintiffs cannot establish that Weinberger
 5   had knowledge of their discussions with Nuliez regarding the Roscoe's Show. In
 6   connection with Weinberger's knowledge of 1\liniez's fiduciary duty, the evidence
 7 shows that when Nafiez first contacted Weinberger regarding the Roscoe's Show,
 8   Weinberger was aware at that time, or became aware thereafter, that Nufiez was acting
 9   as agent on behalf of the Roscoe's Producers in his efforts in connection with the
10   Roscoe's Show. P. Goldsby Depo. 97:9-18.
11           At a minimum, genuine issues of material fact exist as to whether Nufiez advised
12   Weinberger that Nunez had agreed to act as agent for Plaintiffs in presenting the
13   Roscoe's Show to TV One, which preclude Summary Judgment. As an initial matter, it
14   defies logic and reason that Nidiez would not have disclosed his fiduciary relationship
15   and duties to Weinberger. In any event, the evidence shows that as part of the oral
16   agreement the Roscoe's Show producers had with Weinberger, Weinberger and Ntlfiez
17 were to take the Roscoe's Show to TV One. P. Goldsby Depo. 97:9-18. Thus,
18   Weinberger unquestionably was aware that 1\hafiez was asked by Plaintiffs, as he, too,
19   was, to approach TV One with the Roscoe's Show.
20           This is also consistent with the several development meetings related to the
21   Roscoe's Show that Weinberger attended, including in late 2011, at which Weinberger
22   stated that he was frustrated with the rate of progress of production of the Roscoe's
23   Show and Mr. Hudson's exercise of ultimate control over each step of development. So
24   detailed was Weinberger's knowledge of Nuilez's specific assignment to present the
25   Roscoe's Show to TV One, that at one point during this meeting when Mr. Hudson
26   stepped away from the table, Weinberger stated, in sum and substance, "We don't need
27   Herb. We could take this to TV One ourselves, and I would write for free." (Emphasis
28   supplied.) P. Goldsby Depo. 97:9-18; Hudson Depo. 147:16-148:20.
                                                             11
      PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED. WEINBERGER'S MOTION FOR SUMMARY
                                JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 19 of 32 Page ID #:3915




 1           Plaintiffs need not prove that Weinberger owes them a duty before he can be held
 2   liable as an aider and abettor, a principle that Weinberger does not dispute. "California
 3   cases outlining the elements of aiding and abetting liability have consistently cited the
 4   elements of the tort as they are set forth in the Restatement (Second) of Torts, § 876,
 5   and have omitted any reference to an independent duty on the part of the aider and
 6   abettor. Under this formulation, liability may properly be imposed on one who knows
 7 that another's conduct constitutes a breach of duty and substantially assists or
 8   encourages the breach. [Citations.]" Neilson v. Union Bank of California, N.A., 290
 9   F.Supp.2d 1101, 1133-34 (C.D. Cal. 2003).
10                   2.       The Specific Allegations of the Complaint Sufficiently Plead
11                            Claims for Breach of Fiduciary Duty and Aiding and Abetting
12           Weinberger's argument that he cannot be held liable for aiding and abetting
13   Nufiez on the basis of introductory allegations of the operative Complaint is equally
14   unavailing. Weinberger Motion, p. 17:2-21. As the moving party, Weinberger bears
15   the burden of establishing that there is no genuine issue of material fact. British Airways
16   Board v. Boeing Company, supra, 585 F.2d at 951. Instead, rather than offering
17 undisputed facts to meet this burden, Weinberger relies on the basic pleading
18   allegations of agency (i.e., the acts of Defendants were within the course and scope of
19   such agency) contained in Paragraph 11 of the Complaint.
20           Notably, however, Weinberger quotes only a selective portion of Paragraph 11 in
21   an effort to bolster his myopic assertion. Indeed, Paragraph 11, which is based on
22   information and belief, is qualified by the phrase, "that unless otherwise specifically
23   stated, at all times mentioned herein, Defendants, and each of them, were the agents,
24   employees, partners, joint venturers, owners, supervisors, principals, and/or employers
25   of the remaining Defendants, and each of them, and were acting within the course and
26   scope of that agency, partnership, employment, ownership, or joint venture with respect
27   to the claims alleged herein." (Emphasis added.) Here, the specific allegations in the
28   Paragraphs of the Complaint that follow this section (i.e., TT 26, 27, 33, 36, 38, 45 and
                                                             12
      PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED. WEINBERGER'S MOTION FOR SUMMARY
                                JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 20 of 32 Page ID #:3916




 1   49) sufficiently plead a "manifestation by the principal that the agent shall act for him,"
 2   the "agent's [acceptance of] the undertaking," and "an understanding between the parties
 3   that the principal is to be in control of the undertaking." See Bowoto v. Chevron Texaco
 4   Corp., 312 F.Supp.2d 1229, 1239 (ND. Cal. 2004).
 5           F.       Genuine Issues of Material Fact Exist as to Weinberger's Liability for
 6                    Breach of Implied Contract
 7           Weinberger also erroneously contends that because Plaintiffs never explicitly
 8   offered to sell the Roscoe's Show to either him or to Nutiez, they cannot be liable on a
 9   claim for Breach of Implied Contract. Not only does this contention miss the
10   fundamental basis for this claim, it misconstrues the relevant case law. The contract at
11   issue here is one that is implied by conduct, and not a classic Desny claim where, to
12   establish liability, the Plaintiffs must "show that [they] prepared the work, disclosed the
13   work to the offeree for sale, and did so under circumstances from which it could be
14   concluded that the offeree voluntarily accepted the disclosure knowing the conditions on
15   which it was tendered and the reasonable value of the work." Grosso v. Miramax Film
16   Corp., 383 F.3d 965, 967 (9th Cir. 2004).
17           "[I]n California the device of the implied-in-fact contract is employed to protect
18   the ideas of literary artists who, in the course of attempting to market their ideas, must
19   necessarily disclose them to producers and publishers." Rokos v. Peck, 182 Cal.App.3d
20   604, 614 (1986). Here, Weinberger and Ntlifiez were to use their talents and industry
21   connections to help advance and market the Roscoe 's Show, including representing
22   Plaintiffs to studios, connections, various industry insiders and anybody of significant
23   potential ability to get the Roscoe's Show distribution. Deposition of Kennedy Goldsby
24   ("K. Goldsby Depo."), at Exh. "H" to Hamrick Decl., 133:4-25; P. Goldsby Depo. 97:9-
25   18. Notably, to form an implied-in-fact contract with Weinberger and Naez, Plaintiffs
26   were not required to offer to sell the entirety of the Roscoe's Show to them. "[W]here
27   an idea is furnished by one party to another, a contract sometimes may be implied even
28   in the absence of an express promise to pay." Grosso, supra, 383 F.3d at 967 (internal
                                                             13
      PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED. WEINBERGER'S MOTION FOR SUMMARY
                                JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 21 of 32 Page ID #:3917




 1   citation omitted).2 Accordingly, it is irrelevant whether Plaintiffs disclosed the idea for
 2   the Roscoe's Show to Weinberger and NAfiez in the context of an offer for sale.
 3                   1.       Weinberger and Nunez Impliedly Agreed to Compensate
 4                            Plaintiffs if They Exploited the Roscoe's Show
 5           Here, it is contended that Weinberger and Naez impliedly agreed that the
 6   Roscoe's Show Materials Plaintiffs shared with them would not be used unless Plaintiffs
 7   were compensated. Indeed, the focus of the agreement was for Weinberger and Nufiez
 8   to take the Roscoe's Show to TV One and/or other networks for sale or licensing. P.
 9   Goldsby Depo. 97:9-18. Further, when, as agreed, Weinberger and Nifriez disclosed
10 Plaintiffs' ideas to TV One, they impliedly agreed to credit Plaintiffs for any of
11   Plaintiffs' ideas that might be used by TV One for any purpose, despite the absence of
12   an express promise to pay. Grosso, supra, 383 F.3d at 967 (internal citation omitted);
13   Moreover, before Paul Goldsby provided Nufiez and Weinberger with an oral summary
14   of the Roscoe's Show or any of the Roscoe's Show Materials, it was understood and
15   impliedly agreed that the Roscoe's Show concept would not be used or disclosed for
16 any purpose unless Plaintiffs Mr. Hudson, Kennedy Goldsby and Paul Goldsby
17 (collectively, the "Roscoe's Producers") were compensated. Declaration of Paul
18   Goldsby in Support of Plaintiffs' Oppositions to Defendants' Motions for Summary
19   Judgment ("P. Goldsby Decl."), IN 5-10 and 12-13.
20           Niulez and Weinberger always knew that the Roscoe's Show was Plaintiffs'
21   production, and that it was not given to them as a gift. Thus, Niniez and Weinberger
22   always knew, or should have known, that they could not use the Roscoe's Show without
23   crediting Plaintiffs or providing them with compensation for its use or disclosure. For
24   these reasons, genuine issues of material fact exist as to the establishment of the
25   elements of a claim for Breach of Implied-in-Fact contract under California law.
26
27   2 Significantly, the Court already recognized these standards in the entertainment industry when it
     noted in its Order on Defendants' Motions to Dismiss the Second Amended Complaint that a contract
28   may be implied even in the absence of an express promise to pay (Doc. 78, Page ID #:1234).
                                                             14
      PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED. WEINBERGER'S MOTION FOR SUMMARY
                                JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 22 of 32 Page ID #:3918




  1   Grosso, supra, 383 F.3d at 967 ("[t]he Desny rule is justified on the theory that the
 2    bargain is not for the idea itself, but for the services of conveying that idea.").
 3           Moreover, Weinberger's argument that Plaintiffs "blurted out" their idea for the
 4    Roscoe's Show for the purpose of entering into a business relationship with Weinberger
 5    is equally unavailing. Indeed, it is customary in the entertainment industry that when a
 6    producer gives a writer or potential co-producer a script to possibly retain the writer to
 7    perform writing services, or have the co-producer shop the project, the person (here,
 8    Weinberger and Nunez) will not disclose or share that script or its contents with third
 9    parties or convert it to their own use without the consent of the producer. Declaration
10    of Mark Litwak, ¶ 12-14.
11                    2.      Industry Customs and Practice in the Submission of Ideas
12           Notably, California Courts acknowledge industry customs and practice in the
13    submission of ideas. The "intention to make a promise may be manifested in language
14    or by implication from other circumstances, including course of dealing or usage of
15    trade or course of performance." Binder v. Aetna Life Ins. Co., 75 Cal.App.4th 832, 850
16    (1999) (internal citation omitted); See also Nimmer on Copyright § 16.05 [B], at 16-35.
17    Specifically, applying an implied contract theory of recovery, California Courts
18    impose an obligation to pay for the disclosure of an idea, which a party would
19    otherwise be legally free to use, but which, in fact, he would not have come up with
20    on his own, but for the disclosure. Blaustein v. Burton, 9 Cal.App.3d 161, 183 (1970).
21                   3.       Nunez and Weinberger Admit Access, Undermining a Claim of
22                            Independent Creation
23           Weinberger also asserts that it is uncontroverted that he independently created the
24    Belle's Show and that such independent creation bars a Desny claim. Weinberger
25    Motion, p. 20:23-27. In this regard, Weinberger cites Mann v. Columbia Pictures, Inc.,
26 128 Cal.App.3d 628 (1982) as purported support for the proposition that an
27    "independent effort" on his part in developing the Belle's Show script provides him with
28    a complete defense as to implied-in-fact claims. Id. at 650. However, the defense in
                                                             15
      PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED. WEINBERGER'S MOTION FOR SUMMARY
                                JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 23 of 32 Page ID #:3919




 1   Mann was established because all inference of access and use claims were rebutted. Id.
 2   The Mann Court reasoned that "a trial court can hold as a matter of law that an
 3   inference has been dispelled where is has been rebutted by clear, positive and
 4   uncontradicted evidence not open to doubt." Id. (citing Apodaca v. Trinity Lumber Co.,
 5   226 Cal.App.2d 1, 4 (1964). In the Mann case, the inference was dispelled when the
 6   defendants produced evidence that plaintiffs script "was never submitted to
 7   [defendant], and neither access nor use existed." Id. In other words, the Mann Court
 8   only found "independent effort" as a complete defense to a Desny claim where "[t]he
 9   nonexistence of submission was established." Id. No such circumstances exist here as
10   both Nunez and Weinberger readily admit access to the relevant materials.
11           Weinberger alternatively argues that the Roscoe's Show and the Belle's Show are
12   not substantially similar. Weinberger Motion, p. 20:1-22. In this regard, Plaintiffs
13   incorporate by reference their Memorandum of Points and Authorities in Support of
14   Plaintiffs' Opposition to Defendant TV One, LLC's Motion for Summary Judgment as
15   if set forth at length herein.
16           G.      Genuine Issues of Material Fact Exist as to Whether Weinberger and
17                   Nunez Interfered with Plaintiffs' Prospective Economic Advantage
18           The moving party on a Motion for Summary Judgment must meet the ultimate
19   burden in persuading the Court that there is "no genuine issue as to any material fact
20   and that the movant is entitled to judgment as a matter of law." Fed. R. Civ. P. 56(c).
21   If the moving party fails to do so, Summary Judgment must be denied. Weinberger has
22   not met this burden with respect to the prospective economic advantage claim because
23   Plaintiff has set forth a genuine issue of material fact with respect to each element of
24   this Claim for Relief.
25           Plaintiffs' Claim for Relief for Interference with Prospective Business Advantage
26   requires (1) an economic relationship between the plaintiff and some third party, with
27   the probability of future economic benefit to plaintiff, (2) the defendant's knowledge of
28   the relationship (3) intentional acts on part of the defendant designed to disrupt the
                                                             16
      PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED. WEINBERGER'S MOTION FOR SUMMARY
                                JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 24 of 32 Page ID #:3920




 1   relationship (4) actual disruption of the relationship, and (5) economic hair to plaintiff
 2   proximately caused by the acts of defendant. Korea Supply Co. v. Lockheed Martin
 3   Corp., 29 Cal.4th 1134, 1153 (2003).
 4                   1.       Plaintiffs' Existing and Potential Economic Relationships
 5           First, genuine issues of material fact abound as to whether an economic
 6   relationship existed. Weinberger contends that Plaintiffs did not have any existing
 7   economic relationships with third parties to survive Summary Judgment. In support of
 8   his contention, Weinberger points only to the following potential third parties: actors
 9   (Nunez and Keith David), networks and showrunners. Weinberger Motion, pp. 21:16-
10 22:4.
11           As to Naez and Mr. David, Weinberger incorrectly asserts that a sufficient
12   economic relationship does not exist because "Plaintiffs did not have any agreement"
13   with them. Notably, Mr. David agreed to play the Sam character in the Roscoe's Show.
14   P. Goldsby Depo. 99:21-100:17. Indeed, there is evidence that Paul Goldsby told
15   Nuriez, in the presence of Weinberger, that Mr. David was attached to the Roscoe's
16   Show. P. Goldsby Depo. 240:8-241:17
17           Weinberger's purported argument relies on the incorrect assumption that a
18   contractual agreement is required for this tort. However, case law is to the contrary;
19   only "the existence of a business relationship" is required which "need not be a
20   contractual relationship." Roth v. Rhodes, 25 Cal.App.4th 530, 546 (1994); See also,
21   Pacific Gas & Electric Co. v. Bear Stearns & Co., 50 Ca1.3d 1118, 1126 (1990)
22   ("interference with prospective advantage does not require proof of a legally binding
23   contract"); See also, Korea Supply Co. v. Lockheed Martin Corp., supra (finding an
24   "economic relationship" where there was a corresponding expectancy of probable future
25   economic benefit from an existing relationship). Thus, a genuine issue of material fact
26   exists as to whether Naez and Mr. David had sufficient business relationships with
27   Plaintiffs arising from their involvement with the Roscoe's Show.
28           Moreover, even if Weinberger's contention regarding the above-mentioned third
                                                             17
      PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED. WEINBERGER'S MOTION FOR SUMMARY
                                JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
           Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 25 of 32 Page ID #:3921




            1 parties was correct, a sufficient economic relationship existed between Plaintiffs and
            2 several other parties, including Ciarra Carter and Frank Pinnock, to establish a
            3 sufficient basis for these interference claims. In or around 2009, Plaintiffs and Ms.
            4   Carter entered into a business relationship in which Ms. Carter was cast to play Wanda
            5   in the Roscoe's Show. Declaration of Ciarra Carter (Doc. 25) ("Carter Decl."), pursuant
            6   to Plaintiffs' Request for Judicial Notice, ¶ 6; Declaration of Paul Goldsby in Support
            7   of Plaintiffs' Motion for Preliminary Injunction, at Exh. 13 to the Delcaration of James
            8   T. Ryan ("Ryan Decl."), TT 17-18. An economic relationship was also established with
            9   Mr. Pinnock when he was hired to be the line producer, co-producer, and co-executive
           10   producer of the Roscoe's Show. Declaration of Paul Goldsby in Support of Plaintiffs'
           11 Motion for Preliminary Injunction, at Exh. "13" to Ryan Decl., ¶ 16; Declaration of
           12   Frank Pinnock in Support of Plaintiffs' Motion for Preliminary Injunction, at Exh. "C"
           13   to Hamrick Decl., ¶¶ 5, 8-10.
           14          Further, Plaintiffs reached an agreement with Bentley Kyle Evans whereby if he
           15   was the writer, "then he would become an executive producer" of the Roscoes' Show.
AMRICK &




           16   P. Goldsby Depo. 85:17-23. In addition, Mr. Evans would be the show runner for the
           17   Roscoe's Show. P. Goldsby Depo. 84:19-85:3; 89:21-90:3. Plaintiffs also planned to
           18   use multiple directors for the Roscoe's Show, and had established relationships for the
           19   Roscoe's Show with directors Aaron McGruder and Yvette Lee Bowser, among others,
           20   including Kennedy Goldsby. P. Goldsby Depo. 146:17-147:16. Plaintiffs had oral
           21   agreements with crew members (P. Goldsby Depo. 71:20-23) and with set designers for
           22   the Roscoe's Show. P. Goldsby Depo. 151:2-19. And, Plaintiffs had agreements with
           23   directors of photography for the Roscoe's Show. P. Goldsby Depo. 145:5-10.
           24          Moreover, Plaintiffs also had a potential economic relationship with the Adult
           25   Swim cable network through Aaron McGruder whose company had a production deal
           26   with Adult Swim. Notably, Mr. McGruder contacted the president of Adult Swim and
           27   obtained his agreement to include within his production agreement an order of twenty-
           28   six (26) episodes for the Roscoe's Show. P. Goldsby Depo. 117:17-118:18. These
                                                                       18
                PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED. WEINBERGER'S MOTION FOR SUMMARY
                                          JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 26 of 32 Page ID #:3922




 1   relationships carried with them the probability of future economic benefit to Plaintiffs
 2   arising from the exploitation of the Roscoe's Show. At a minimum, genuine issues of
 3   material fact exist as to whether economic relationships existed as to which Weinberger
 4   and Nurlez interfered. Id.
 5                    2.      Weinberger's Knowledge of Plaintiffs' Economic Relationships
 6           Second, genuine issues of material fact exist as to whether Weinberger knew of
 7   the existing relationships. In support of his claim that he was not aware of any existing
 8 relationships Plaintiffs had with actors, networks or showrunners for the Roscoe's
 9   Show, Weinberger merely states that at the one meeting with Plaintiffs, and no one
10   mentioned any relationships that were in place. Weinberger Decl., 1- 29. However, such
11   a claim does not preclude Weinberger from ever gaining the requisite knowledge of the
12   relationships. Cal. Prac. Guide Civ. Pro. Trial Claims and Def. Ch. 3(II)-B §3:174
13   ("Defendant must (or should) have known of the economic relationship between
14   plaintiff and third party"). (Emphasis supplied.)
15           Notably, facts exist which, although not raised by Weinberger, show there is, at
16   the very least, a triable issue of fact as to whether Weinberger knew or should have
17   known of these existing relationships. See Cornwell v. Electra Central Credit Union,
18   supra, 439 F.3d at 1029-1030 (circumstantial evidence alone may create a genuine
19   issue of material fact); See also Desert Palace, Inc. v. Costa, 539 U.S. at 100, 123 S.Ct.
20   at 2154. For instance, Paul Goldsby told Naez, in the presence of Weinberger, that
21   Mr. David was attached to the Roscoe's Show. P. Goldsby Depo., pp. 240:8-241:17. In
22 addition, in 2010, after active casting had taken place for the Roscoe's Show,
23   Weinberger, and others, was present at several meetings that Mr. Pinnock attended in
24   his co-producer capacity. Declaration of Frank Pinnock in Support of Plaintiffs' Motion
25   for Preliminary Injunction, at Exh. "C" to Hamrick Decl., TT 11-14. Therefore, genuine
26   issues of material fact exist as to whether Weinberger knew or should have known these
27   relationships existed.
28
                                                             19
      PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED. WEINBERGER'S MOTION FOR SUMMARY
                                JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
            Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 27 of 32 Page ID #:3923




             1                       3.      Weinberger's Interference
             2              There also exist genuine issues of material fact regarding whether Weinberger
             3   knowingly interfered with several of Plaintiffs' economic relationships.                                    Ramona
             4   Manor Convalescent Hosp. v. Care Enters., 177 Cal.App.3d 1120, 1130-31 (1986). In
             5 this regard, a Court may infer intent to interfere from a Defendant's intentional
             6   performance of an act substantially certain to result in interference. Savage v. Pacific
             7   Gas & Elec. Co., 21 Cal.App.4th 434, 449 (1993).
             8              Weinberger asserts that if, as Plaintiffs contend, Weinberger and Nunez were
             9   acting as Plaintiffs' agents, then Weinberger and Nialiez cannot be held liable for
            10 interfering with their principal's relationships. Weinberger Motion, p. 22:11-18.
            11   Weinberger's position is premised on Plaintiff's allegations that Weinberger and Nufiez
            12   were acting as agents for them, and that an agent of a principal cannot be held liable for
            13   interference as a matter of law because the agent is not a "stranger" to the relationship.3
            14   However, a Plaintiff may set forth as many separate claims "as it has regardless of
            15   consistency." Independent Enterprises, Inc. v. Pittsburgh Water & Sewer Authority, 103
AMRIC K &




            16   F.3d 1165, 1175 (3rd Cir. 1997); Brookhaven Landscape & Grading Co., Inc. v. J.F.
            17   Barton Contracting Co., 676 F.2d 516, 523 (11th Cir. 1982). Indeed, Plaintiffs may
            18   plead two or more inconsistent statements of a claim, even with the same count. Henry
            19   v. Daytop Village, Inc., 42 F.3d 89, 95 (2nd Cir. 1994). Thus, assuming for the sake of
            20 argument that, as Weinberger contends, Weinberger and Nuflez were not acting as
            21   agents for Plaintiffs, there remain genuine issues of material fact regarding whether or
            22   not Weinberger and Nuilez knowingly interfered with Plaintiffs' economic relationships
            23   and their prospective economic advantage.
            24
            25
            26   3
                   Notably, the two cases Weinberger cites for this proposition, Mintz v. Blue Cross of California, 172
            27   Cal.App.4th 1594, 1607 (2009) and PM Group, Inc. v. Stewart, 154 Cal.App.4th 55, 65 (2007),
                 involve claims of intentional interference with contract - not interference with prospective economic
            28   advantage.
                                                                            20
                     PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED. WEINBERGER'S MOTION FOR SUMMARY
                                               JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
            Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 28 of 32 Page ID #:3924




             1                    4.      Plaintiffs Need Not Prove Independently Wrongful Conduct
             2           Genuine issues of material fact are also present regarding whether Plaintiffs
             3   established that Weinberger engaged in any independently wrongful conduct, thereby
             4   skirting protection, if any, under the privilege of competition. Notably, application of
             5   the privilege requires that the "actor [Weinberger] does not employ wrongful means" in
             6   causing a third person not to enter into a prospective contractual relation with another
             7 who is his competitor.                  San Francisco Design Center Associates v. Portman
             8   Companies, 41 Cal.App.4th 29, 40 (1995) dismissed, remanded and ordered published.
             9 Further, the competitive privilege is inapplicable to interference with an existing
            10   contract. See, Show Management v. Hearst Pub. Co., 196 Cal.App.2d 606, 618 (1961).
            11           Here, the merit of Weinberger's contention regarding independently wrongful
            12   conduct is wholly reliant on the failure of each of Plaintiffs' other claims. That is,
            13   Weinberger must prevail on Summary Judgment as to each of Plaintiffs' Claims for
            14   Relief in order to obtain the benefits of the privilege of competition. For each of the
            15   reasons discussed above, there are myriad genuine issues of material fact that preclude
AMRIC K &




            16 Summary Judgment. Therefore, Plaintiffs need not prove independently wrongful
            17 conduct.
            18           Finally, genuine issues of material fact exist as to whether it was reasonably
            19   probable that economic advantage would have been realized but for any interference.
            20   Must v. Longo, 43 Cal.3d 64, 71 (1987). This element is met where there is foreseeable
            21   harm to the plaintiff caused or to be caused by the interference. Colome v. State Athletic
            22   Comm'n, 47 Cal.App.4th 1444, 1459 (1996). In any event, a triable issue of fact may
            23   exist even in the absence of causation. "[I]n the absence of other evidence, timing alone
            24   may be sufficient to prove causation.... Thus, ... the real issue is whether, in the
            25   circumstances of the case, the proximity of the alleged cause and effect tends to
            26   demonstrate some relevant connection. If it does, then the issue is one for the fact
            27   finder to decide." Overhill Farms, Inc. v. Lopez, 190 Cal.App.4th 1248, 1267 (2010)
            28   (Original emphasis.)
                                                                         21
                  PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED. WEINBERGER'S MOTION FOR SUMMARY
                                            JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 29 of 32 Page ID #:3925




 1           The "connection" here is obvious. Weinberger engaged in the production of,
 2   produced, exploited, broadcasted, exhibited and distributed the Belle's Show, which is
 3   based on and adapted from Plaintiffs' television series. Weinberger used the theme,
 4   plot, ideas, concepts, characters and situations embodied in the Roscoe's Show and
 5   deliberately adapted, imitated, plagiarized and misappropriated integral portions of the
 6   Roscoe's Show to create the Belle's Show. Plaintiffs potential relationships with other
 7 networks likewise were fractured once the strikingly similar Belle's Show was
 8 broadcast. Moreover, absent Weinberger's interference, there was a reasonable
 9   probability that Plaintiffs would have realized an economic advantage from their many
10   economic relationships. P. Goldsby Depo. 71:20-23; 84:19-85:3; 85:17-23; 89:21-90:3;
11   99:21-100:17; 145:5-10; 146:17-147:16; 151:2-19; 240:8-241:17.
12           As addressed previously in Section ILD. above, the assertion that Plaintiffs twice
13   pitched the Roscoe's Show to TV One and were turned down is nothing but a red
14   herring. Even if these two instances were pitches (which they were not), the fact that
15   TV One gave Plaintiffs a chance to pitch their show, but failed, does not undermine
16   causation. Indeed, a failed pitch to TV One is but one avenue, and a failure on the part
17   of TV One to pick up the Roscoe's Show is not conclusive proof that another network
18   would have acted in a like fashion.
19           Here, Weinberger's independently wrongful conduct interfered with Plaintiffs'
20   relations with a defined group within the entertainment industry that was misled into
21   believing, and acting thereon, that TV One was creating and releasing an original work
22   when, in fact, the Belle's Show was developed based on Plaintiffs' ideas, concepts and
23   written materials for the Roscoe's Show, but presented and held out to third parties as
24   the Belle's Show without providing credit or compensation to Plaintiffs. As previously
25   noted, circumstantial evidence of interference, alone, may create a genuine issue of
26 material fact, sufficient to defeat Weinberger's Motion for Summary Judgment.
27   Cornwell v. Electra Central Credit Union, supra, 439 F.3d at 1029; See also Desert
28   Palace, Inc. v. Costa, supra, 539 U.S. at 100, 123 S.Ct. at 2154. At a minimum,
                                             22
      PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED. WEINBERGER'S MOTION FOR SUMMARY
                                 JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 30 of 32 Page ID #:3926




 1   genuine issues of material fact exist as to whether (1) Plaintiffs had existing economic
 2   relationships with third parties that were interfered with; (2) Weinberger knew of these
 3   existing relationships; (3) Weinberger or Nuriez knowingly interfered with any existing
 4   relationships; (4) Plaintiffs can show causation.
 5           H.       Plaintiffs are Permitted to Recover Both Statutory Damages and
 6                    Attorneys' Fees on Their Copyright Claim Against Weinberger
 7           A successful Plaintiff in a copyright infringement case is entitled, at the Plaintiffs
 8   election to either (1) its actual damages and any additional profits of the infringer, or (2)
 9   statutory damages. 17 USC § 504. Additionally, the Court may award a prevailing
10   Plaintiff its reasonable attorneys' fees as part of its costs. 17 USC § 505. However,
11 admittedly these statutory measures of damages are not available where the
12   "infringement of copyright in an unpublished work commenced before the effective
13   date of its registration." 17 USC § 412. Weinberger alleges that Plaintiffs are not
14   entitled to recover statutory damages because the Defendants' first acts of infringement
15   took place before the September 11, 2012, registration of the Roscoe's Show Materials.
16 However, due to the two distinct types of infringement at issue here—namely
17 development of the infringing work, and broadcasting of the infringing work-
18   Defendants' argument must fail.
19           With regard to ongoing infringement of a work, the Ninth Circuit has held that
20   "the first act of infringement in a series of ongoing infringements of the same kind
21   marks the commencement of one continuing infringement under § 412." Derek Andrew,
22   Inc. v. Proof Apparel Corp., 528 F.3d 696, 700-01 (9th Cir. 2008) (emphasis added).
23   However, where the facts establish a later infringement of a different "kind," a plaintiff
24   may still be permitted to recover statutory attorneys fees and damages. E.g. Kwan v.
25   Schlein, 246 F.R.D. 447, 452 (S.D.N.Y. 2007) (permitting plaintiff to pursue statutory
26   damages and attorney fees on grounds that publication of a new edition of the infringed
27   work constituted commencement of a new act of infringement). It is well settled that
28   infringement occurs where a Defendant violates any one of the exclusive rights of a
                                                             23
      PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED. WEINBERGER'S MOTION FOR SUMMARY
                                 JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 31 of 32 Page ID #:3927




 1   copyright holder pursuant to 17 USC § 106. E.g. A&M Records, Inc. v. Napster, Inc.,
 2   239 F.3d 1004, 1014 (9th Cir. 2001). Where, as here, a party engages in conduct which
 3   violates different rights under section 106 at different times, these violations should be
 4   treated a different "kinds" of infringement for the purposes
 5           Defendants' initial act of infringement—the unlawful reproduction of the
 6   Roscoe's Show and the passing-off of this work as Defendants' own—took place prior
 7   to the formal registration of the Roscoe's Show Materials. 17 USC § 106(1). However,
 8   subsequent to Plaintiffs' registration of the work, Defendants committed a different
 9   kind of infringement by broadcasting and distributing the substantially similar Belle's
10   Show on the TV One network. 17 USC § 106(3), (5). The latter infringement did not
11   commence until after registration of the Roscoe's Show Materials, therefore the limiting
12   language of 17 USC § 412 is inapplicable here, and Plaintiffs are permitted to pursue
13   statutory damages and attorneys' fees.
14    III. CONSIDERATION OF DEFENDANTS' MOTIONS SHOULD BE
15           DEFERRED
16           In the event that the Court is inclined to grant any portion of Defendants' Motions
17   for Summary Judgment or Partial Summary Judgment, Plaintiffs respectfully request
18   that the Court defer considering the Motions, or deny them, pursuant to Federal Rules
19   of Civil Procedure 56(d), until Plaintiffs obtain the discovery sought pursuant to their
20   Motion to Modify Scheduling Order (Doc. 156). Hamrick Decl. Irif 19-23.
21           //
22           //
23           //
24
25           //
26           //
27           //
28
                                                            24
      PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED. WEINBERGER'S MOTION FOR SUMMARY
                                JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
             Case 2:12-cv-08688-GW-JEM Document 198 Filed 09/30/13 Page 32 of 32 Page ID #:3928




              1 IV. CONCLUSION
              2           For all of the forgoing reasons, Plaintiffs respectfully request that the Court issue
              3   an Order denying Weinberger's Motion for Summary Judgment or, in the Alternative,
              4   Partial Summary Judgment with prejudice.
              5
                                                                     Respectfully submitted,
              7
                  DATED: September 30, 2013                          HAMRICK & EVANS, LLP
              8
                                                                               /s/ A. Raymond Hamrick, III
              9
                                                                     By:
             10                                                            MARTIN J. BARAB
                                                                           A. RAYMOND HAMRICK, III
             11                                                            KENNETH A. KOTARSKI
                                                                           REBECCA L. WORDEN
             12                                                            Attorneys for Plaintiffs
                                                                           GOODNESS FILMS, LLC, HERBERT
             13                                                            HUDSON, PAUL GOLDSBY, and
                                                                           KENNEDY GOLDSBY
             14
             15
H AMRIC K&




             16
             17
             18
             19
             20
             21
             22
             23
             24
             25
             26
             27
             28
                                                                          25
                   PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANT ED. WEINBERGER'S MOTION FOR SUMMARY
                                              JUDGMENT OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT
